Case: 1:17-md-02804-DAP Doc #: 3598-3 Filed: 01/08/21 1 of 7. PageID #: 507759




                           Exhibit 2
Case: 1:17-md-02804-DAP Doc #: 3598-3 Filed: 01/08/21 2 of 7. PageID #: 507760




 · ·

 · ·

 · ·

 ·

 ·
 ·   ·
 ·   ·
 ·   ·
 ·   ·
 ·   ·
 ·   ·
 ·   ·
 ·   ·
 ·   ·
 ·   ·
 ·   ·
 ·   ·
 ·   ·
 ·   ·

 ·

 · ·

 · ·

 ·

 ·

 ·

 ·

 ·

 ·

 ·

 ·

 ·

 ·

 ·

 ·
 · ·
 · ·
 · ·
Case: 1:17-md-02804-DAP Doc #: 3598-3 Filed: 01/08/21 3 of 7. PageID #: 507761


      Ex Parte Motion Hearing                                       December 22, 2020

·1

·2

·3
· · ·
·4
· · ·
·5
· · ·
·6

·7

·8
· · ·
·9
· · ·
10
· · ·
11

12

13
· ·   ·
14
· ·   ·
15
· ·   ·
16
· ·   ·
17
· ·   ·
18
· ·   ·
19
· ·   ·
20
· ·   ·
21
· ·   ·
22
· ·   ·
23
· ·   ·
24
· ·   ·
25

26

27

28


                          www.ImagineReporting.com | 855-777-7865             Page 2
                                                                                        YVer1f
Case: 1:17-md-02804-DAP Doc #: 3598-3 Filed: 01/08/21 4 of 7. PageID #: 507762


     Ex Parte Motion Hearing                                       December 22, 2020

·1
·2
·3
·4
·5
·6
·7
·8
·9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                         www.ImagineReporting.com | 855-777-7865             Page 3
                                                                                       YVer1f
Case: 1:17-md-02804-DAP Doc #: 3598-3 Filed: 01/08/21 5 of 7. PageID #: 507763


     Ex Parte Motion Hearing                                       December 22, 2020

·1
·2
·3
·4
·5
·6
·7
·8
·9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                         www.ImagineReporting.com | 855-777-7865             Page 5
                                                                                       YVer1f
Case: 1:17-md-02804-DAP Doc #: 3598-3 Filed: 01/08/21 6 of 7. PageID #: 507764


     Ex Parte Motion Hearing                                       December 22, 2020

·1
·2
·3
·4
·5
·6
·7
·8
·9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                         www.ImagineReporting.com | 855-777-7865            Page 18
                                                                                       YVer1f
Case: 1:17-md-02804-DAP Doc #: 3598-3 Filed: 01/08/21 7 of 7. PageID #: 507765


     Ex Parte Motion Hearing                                       December 22, 2020

·1
·2
·3
·4
·5
·6
·7
·8
·9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                         www.ImagineReporting.com | 855-777-7865            Page 19
                                                                                       YVer1f
